
78 So. 3d 16 (2011)
Osvaldo ACOSTA, Appellant,
v.
FLORIDA UNEMPLOYMENT APPEALS COMMISSION and Gulfside Supply Inc., Appellees.
No. 3D11-1075.
District Court of Appeal of Florida, Third District.
October 26, 2011.
Osvaldo Acosta, in proper person.
M. Elaine Howard, Deputy General Counsel for Unemployment Appeals Commission, for appellees.
Before SUAREZ, SALTER, and FERNANDEZ, JJ.
PER CURIAM.
Affirmed. Chacon v. Joell Designers Corp., 17 So. 3d 716 (Fla. 3d DCA 2009); Saintil v. Fla. Unemployment Appeals Comm'n, 944 So. 2d 1228 (Fla. 3d DCA 2006); Torre v. New Century Mortg. Corp., 935 So. 2d 1264 (Fla. 3d DCA 2006).
